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13   SmileDirectClub, LLC., Jeffrey Sulitzer, and Jeffrey
     Sulitzer D.M.D. P.C.
14

15
                                     UNITED STATES DISTRICT COURT
16                                 NORTHERN DISTRICT OF CALIFORNIA
17
      ARNOLD NAVARRO, on behalf of himself and
18    others similarly situated
                                                            CASE NO. 3:22-CV-00095-WHO
19                  Plaintiff,
20            v.                                            JOINT STIPULATION AND [PROPOSED]
                                                            ORDER TO EXTEND TIME TO RESPOND
21    SMILEDIRECTCLUB, INC.;                                TO FIRST AMENDED COMPLAINT
      SMILEDIRECTCLUB, LLC;                                 UNDER L.R. 6-2
22    JEFFREY SULITZER; DOES 1–10
23                   Defendants.
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                          JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME
                                  TO RESPOND TO FIRST AMENDED COMPLAINT
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 1          Pursuant to Civil Local Rule 6-2(a), Plaintiff Arnold Navarro (“Plaintiff”) and Defendant Jeffrey
 2   Sulitzer D.M.D. P.C. (“Sulitzer P.C.”), through their respective attorneys, hereby stipulate subject to
 3   approval of the Court as follows:
 4          WHEREAS, on March 23, 2022, the Court ordered that Defendants SmileDirectClub, Inc.;
 5   SmileDirectClub, LLC; and Dr. Jeffrey Sulitzer’s deadline to file an Answer or a motion directed at the
 6   First Amended Complaint will be 21 days after the Court issues an order resolving Defendants’ pending
 7   Motion to Compel Arbitration [ECF #34];
 8          WHEREAS, on April 15, 2022 the Court granted Plaintiff’s motion to amend the Complaint to
 9   add Sulitzer P.C. as a Defendant [ECF #46];
10          WHEREAS, the parties have agreed that the deadline for Sulitzer P.C. to file an Answer or motion
11   directed at the First Amended Complaint will be the same as the other Defendants’ deadline;
12          WHEREAS, the parties believe that the amended schedule will preserve both judicial and party
13   resources.
14          Pursuant to Local Rule 6-2, IT IS HEREBY STIPULATED AND AGREED by the parties, subject
15   to the approval of the Court, that the deadline for Sulitzer P.C. to file an Answer or motion directed at the
16   First Amended Complaint will be the same as the other Defendants’ deadline.
17

18    Dated: May 16, 2022
19                                               /s/ Michael D. Meuti
                                                 Michael Dominic Meuti (SBN: 227939)
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 1                                            -and-
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                                              SmileDirectClub, LLC; Jeffrey Sulitzer; and Jeffrey
 7                                            Sulitzer D.M.D. P.C.
 8
     DATED: May 16, 2022                        /s/ Blake J. Lindemann (w/ permission)
 9
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                                                Attorneys for Plaintiff and the Proposed Classes
17

18           I, Michael Meuti, am the ECF user whose ID and password are being used to file this Joint
     Stipulation and [Proposed] Order to Extend Time to Respond to First Amended Complaint. In compliance
19   with Civil Local Rule 5-1(h)(3), I hereby attest that Blake J. Lindemann has concurred in this filing.

20   Dated: May 16, 2022
                                         /s/ ___Michael D. Meuti
21                                        Michael Dominic Meuti (SBN: 227939)
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              PURSUANT TO STIPULATION, IT IS SO ORDERED.
26
     Dated:
27                                                             District Judge William H. Orrick

28                                                     3
                         JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME
                                 TO RESPOND TO FIRST AMENDED COMPLAINT
                                         Case No. 3:22-cv-00095-WHO
